        Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 1 of 7
         Case 22-00301 Document 1 Filed in TXSB on 03/17/22 Page 3 of 4




                                            EXHIBIT A

                    IN THE UNITED STA TES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re: ACCOUNT RESOLUTION                     §
 SERVICES
                                               §
 Proceedings to Enforce                        §   Misc. Proceeding No. 22-00301
 Fed.R.Bankr.P.9036                            §

                   STATEMENT CONFIRMING REGISTRATION FOR
                      ELECTRONIC BANKRUPTCY NOTICING

       This Statement is filed on behalf of ACCOUNT RESOLUTION SERVICES.

         The entity identified above received the Court' s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

       The entity identified above registered for electronic bankruptcy noticing on 4.6.2022
The entity has attached to this statement a copy of the confirmation email it received from the
Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
notices from the U.S. Bankruptcy Courts at the email address identified on the attached
confirmation email from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.



                               Signature:
                                                Patrick Brennan
                           Typed Name:
                                               04/05/22
                                   Date:
           Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 2 of 7

                                       United States Courts
                  Bankruptcy Noticing Center - Registration/Change of Service
   Use this form to add new services or make changes to existing services or account information.

Name of Subscriber: Healthcare Revenue Recovery
Trading Partner Number (if any) :
                                    - -- - - - - - - - - - - - - - - -- - - - - - --
( If you are an email recipient, the TP number is included in the subject line of emails)


Pursuant to Fed. R. Bankr. P. 9036 and 2002(g)(4), 11 U.S .C. §342(f), and Fed. R. Civ. P. 5(b), as
applicable, all U.S . Courts are requested to transmit (SELECT ONE - If you are only updating account
information and are not adding or changing a service, leave this section blank):
       [K] all bankruptcy notices by email containing a link to the notices. While in redundant
       mode (explained below), these courts are requested to transmit my paper notices to my
       preferred mailing address if one is specified below. This preferred address will also be
       substituted on courts' mailing lists for use by parties other than the court.
       *[_] as many bankruptcy notices as possible by Electronic Data Interchange (EDI) and
       the rest by email containing a link to the notices . While in redundant mode (explained
       below), these courts are requested to transmit my paper notices to my preferred mailing
       address if one is specified below. This preferred address will also be substituted on courts '
       mailing lists for use by parties other than the court.
                * An EDI Authorization Code is required. Please contact the BNC at (877) 837-3424
                or enter the code here if you already have one: _ _ __ __
        [_] all bankruptcy notices to the subscriber's preferred U.S. mailing address specified
       below. This preferred address will also be substituted on courts ' mailing lists for use by
       parties other than the court. If selecting this option, please tell us why you are not selecting
       Electronic Bankruptcy Noticing: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __




Advantages of Notification through Email: Subscribers are able to retrieve their notices through a
hyperlink in the email. Receiving notices in this manner ensures that the size of the emails is small
and will not clutter inboxes . Email allows a subscriber to receive notices days faster than the postal
service delivery time. Notices are sent electronically the same day the court produces them. Notices
normally sent to all your branch locations can be sent to one email address. Emailed notices can be
sent to a shared group email address or easily forwarded to others. Additionally, emailed notices
stored on your computer are easier to find when you need them.

Email Enhanced by Extensible Markup Language (XML): Email recipients can access and process
case data elements from each PDF notice file through XML. This provides two advantages, as the
subscriber can retrieve variable data elements from the PDF notice for easy processing and still have
the PDF file for archives/records retention.



Rev. 06/ 11 /201 8
BNC# 332072
                                              Page 1
         Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 3 of 7
                                                                                                          .
EDI: EDI is an option for entities that receive a large volume of bankruptcy notices and are seeking an
automated method for processing the data contained in those notices. Using the American National
Standards Institute (ANSI) X12 3060 175 Court Notice Transaction Set, the BNC will transmit case
data elements (e.g., debtor name, trustee name) for the following notice types: 1) notices of meeting of
creditors (341 notices); 2) notices of assets ; 3) notices of dismissal; and 4) notices of discharge.

The BNC will transmit all EDI notices to the Defense Logistics Agency (DLA) Transaction Services.
DLA Transaction Services serves as the collection point for EDI notices. DLA also serves as the
Value Added Network (VAN) and routes the EDI notices to the subscriber's EDI server. DLA
Transaction Services collection point and VAN services are free. In case of DLA system failure, the
BNC will provide paper notice to the subscriber.

How the Program Works:
Redundant Mode: Entities that register for a new Electronic Bankruptcy Noticing (EBN) service will
have service initiated in approximately two weeks. During the first 30 days of EBN service, the BNC
will send the notice electronically and by U.S. mail to allow the subscriber to confirm the process is
working correctly. This initial 30-day period is called "redundant mode," and it begins from the date
the BNC sets up the new EBN service, not the date of your first EBN notice. Upon expiration of
redundant mode, all future notices processed by the BNC for the courts will only be sent electronically
without further notice. For EDI subscribers, redundant mode will last any additional time, up to 3
months total, that the BNC determines is necessary. Written requests for additional time for EDI
redundant mode will be considered by the Administrative Office of the U.S. Courts.

Entities that are supplying a preferred mailing address will have any paper notices that are sent
through the BNC redirected to their prefe1Ted address effective upon entry of their information into the
BNC's database. This usually occurs within 2 weeks of sending this form to the BNC.

Name Matching: The BNC software will attempt to match the name and address(es) provided on this
fom1 to the address included in the court's mailing list. In most cases, the addresses on the court's
mailing lists are provided by the debtor. If there is a match, the BNC will send the notice by EBN or
to the preferred mailing address depending on the mode of delivery selected. If the name and address
on the court's mailing list do not match the name and address(es) on this form, the BNC will print and
mail the notice to the address on the court 's mailing list. If you are still receiving mailed notices
(other than any you are properly receiving at a preferred mailing address) 45 days after returning this
form, submit the names and/or addresses on these notices to the BNC for matching. You must notify
the BNC if your email address, names, and/or mailing address(es) change.

NOTE: The BNC does not process all the notices you may receive in a case. Notices generated
by trustees, attorneys, debtors, and some court-generated notices or orders will continue to be
mailed and may be mailed to an address other than your preferred mailing address. Except for
EDI recipients, if a party receives a Notice of Electronic Filing from the courts' CM/ECF
system, that party will usually not receive a notice from the BNC except for Official Form 309 -
Notice of Bankruptcy Case.
Rev. 06/ 11/2018
BNC# 332072
                                              Page 2
             Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 4 of 7

Either pa1iy may terminate this service by giving the other party written notice. The U.S. Government
will provide you with 14 days advance notice of any changes in the terms of this service. In Case of
Error: Contact the BNC toll free at (877) 837-3424 to resolve any address or transmission issues.

  1.     CONTACT INFORMATION
  [J Check here if there is no change to this information.
  Name                                 David Friedlander

  Address Line 1                       1643 N. Harrison Parkway

  Address Line 2                       Bldg. H, Suite 100

  City, State, Zip Code                Sunrise                                  FL   33323

  Phone No.                            954-377-2622
  Contact E-mail Address .
                                       david_friedlander@teamhealth.com
  2. SUBSCRIBER INFORMATION (If different from Contact Info.)
  [J Check here if there is no change to this information.
  Name                                 Healthcare Revenue Recovery

  Attention To                         Healthcare Revenue Recovery

  Address Line 1                       1643 N. Harrison Parkway

  Address Line 2                       Bldg. H, Suite 100

  City, State, Zip Code                Sunrise                                  FL   33323

  Phone No.                            954-377-2622 X32622
  3. ELECTRONIC NOTICE SETTINGS (only for EBN subscribers)
  [J Check here if there is no change to this information.
       EDI Address (only for EDI subscribers - See p.1):

       E-mail Address to Receive Electronic Notices:
 Bankruptcies@arscx.com
  X       One e-mail per court with one text link to multiple notices.

          One e-mail with multiple text links. Each link contains one notice.

          One e-mai l with one text link to one notice




Rev. 06/11/201 8
BNC# 332072
                                                         Page 3
       Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 5 of 7




  4. PREFERRED ADDRESS INFORMATION
  [_] Check here if there is no change to this information.
  Entity or Individual Name            Healthcare Revenue Recovery Group, LLC.
  Attention To                         David Friedlander
  Preferred Address Line 1             1643 N. Harrison Parkway
  Preferred Address Line 2             Bldg. H, Suite 100
  City, State, Zip                       Sunrise                                  FL       33323
  5. NAME AND ADDRESS VARIATIONS - Provide names and addresses EXACTLY as they appear on
  notices you currently receive from the bankruptcy courts as well as any spelling variations. The following
  information wi ll only be used by the BNC to set up your account for the name and address matching process. If
  you need more space, attach additional names and addresses for which you receive bankruptcy notices.

  [_] Check here if there is no change to this information.

 Names:        [_] I am sending additional names in a spreadsheet
ARS Account Resolution Services                             ARS Account Resolution
ARS                                                         HRRG
HRRG, LLC                                                   Account Resolution
Account Resolution Servi                                    Healthcare Revenue Recovery




Rev. 06/11/2018
BNC# 332072
                                                     Page 4
       Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 6 of 7


                                              U.S . Courts
                                   Bankruptcy Noticing Center (BNC)
                         EVIDENCE OF AUTHORITY FORM FOR RELATED NAMES

       This form must be completed as an attachment to the Bankruptcy Noticing Center
       Registration/Change of Service fom1 whenever notices from the U.S. Courts are addressed to
       a related entity (i.e. , parent or subsidiary entity of the Subscriber entity or individual attorneys
       of a Subscriber law finn) , and the notices are to be delivered to a single electronic address or
       preferred U.S. mailing address. This form does not need to be resubmitted unless there
       are additional related names added.

Please be advised that Healthcare Revenue Recovery                                                    (Subscriber entity name)
owns or is a subsidiary of related entities and/or brand names or is a law firm. Subscriber is authorized to receive all
notices, as described in the Bankruptcy Noticing Center Registration/Change of Service fom1 which are addressed to such
related names or individual attorneys of the Subscriber law firm.

This fom1 is provided by the U.S. Bankruptcy Courts and may not be altered or changed in any manner by the Subscriber.
Any combination of names and addresses submitted below will be used to match against the recipient list for a particular
notice and will be identified for electronic transmission or redirection to a preferred U.S. mailing address, as set forth in the
Bankruptcy Noticing Center Registration/Change of Service form. The BNC may contact you for an electronic name and
address list if 10 or more names and addresses are attached .

 Related Names (If necessarv, attach additional names and addresses) :
ARS Account Resolution Services                              ARS Account Resolution
ARS                                                             HRRG
HRRG,LLC                                                        Account Resolution
Account Resolution Servi                                        Healthcare Revenue Recovery




Rev. 06/11 /2018
BNC# 332072
                                                        Page 1
         Case 22-00301 Document 6 Filed in TXSB on 04/12/22 Page 7 of 7



Related Addresses (Zip+ 4 required):




 I, the undersigned, am a representative of the above-named Subscriber entity, and I am authorized to give consent on behalf
 of the named Subscriber entity and all related names included on this form. Bankruptcy notices for the related names and
 addresses provided above should be directed to the named Subscriber. The information submitted on this form is true and
 correct. I understand I am solely responsible for the accuracy of the name and address information provided, and neither the
 U.S. Courts nor the BNC will be held responsible for any loss, damage or inconvenience caused as a result of any
 inaccuracy or error in the provided information. I understand I have a duty to inform the BNC should the Subscriber
 no longer be the legal recipient of the bankruptcy notices for any of the related names or addresses submitted above.

 By Subscriber (entity name):
 Name of Authorized Representative:(print) :
 Signature:
 Job Title: _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ __

 Phone and Extension:
 Date:
 E-mail, mail, or fax the signed form to the BNC at:

                   BAE SYSTEMS - Attention BNC Dept.
                   45479 Holiday Drive
                   Sterling, VA 20166
                   E-mail: ebn@baesystems.com
                   Fax: (571) 392-9103

For additional information, go to the program web page at bankruptcynotices.uscourts.gov or call the toll free help line at 1-
877-837-3424.




Rev. 06/11/2018
BNC# 332072
                                                       Page 2
